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 1   DONALD MASUDA, State Bar No. 096560
     Attorney at Law
 2   KENNY N. GIFFARD, State Bar No. 101727
     Attorney at Law
 3   2214 21 st Street
     Sacramento, California 95818
 4   Telephone: (916) 456-3030
 5   Attorneys for Defendant
     DONG SONG
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                         IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                         Case No. S-08-00543 GEB
12
                   Plaintiff,                          STIPULATION AND (PROPOSED)
13                                                     ORDER CONTINUING STATUS
                                                       CONFERENCE
14    vs.
                                                       Date: 03-12-2010
15   DONG SONG, et al,                                 Time: 9:00 a.m.
                                                       Judge: Honorable Garland E. Burrell
16                 Defendants.
17                                                 /
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19
20                 IT IS HEREBY STIPULATED between the United States of America
21   through its undersigned counsel, Michael M. Beckwith, Assistant United States Attorney,
22   together with counsel for defendant Dong Song, Donald Masuda, Esq. and Kenny N.
23   Giffard, Esq., that the status conference presently set for March 12, 2010, be continued to
24   April 2, 2010, at 9:00 a.m., thus vacating the presently set status conference. Counsel
25   for the parties agree that this is an appropriate exclusion within the meaning of Title 18,
26   United States Code § 3161(h)(8)(iv) (continuity of counsel/reasonable time for effective
27   preparation, specifically the defense needs additional time to review discovery and
28                                          1
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     STIPULATION AND (PROPOSED) ORDER CONTINUING STATUS CONFERENCE
      Case 2:08-cr-00543-KJM Document 215 Filed 03/16/10 Page 2 of 3


 1   applicable case law concerning a proposed resolution by the People) and Local Code T4,
 2   and agree to exclude time from the date of filing of the order herein until the date of the
 3   next status conference set for April 2, 2010.
 4                 Assistant United States Attorney Michael M. Beckwith has authorized this
 5   counsel to sign his name on this Stipulation and Proposed Order.
 6   IT IS SO STIPULATED:
 7   Dated: March 11, 2010                             BENJAMIN WAGNER
                                                       United States Attorney
 8
 9                                                     /s/ Michael M. Beckwith
                                                       _________________________________
10                                                     MICHAEL M. BECKWITH
                                                       Assistant United States Attorney
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12
     Dated: March 11, 2010
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14                                                     /s/ Kenny N. Giffard
                                                       _________________________________
15                                                     KENNY N. GIFFARD
                                                       Attorney for Defendant
16                                                     Dong Song
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     STIPULATION AND (PROPOSED) ORDER CONTINUING STATUS CONFERENCE
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 1                                     PROPOSED ORDER
 2                 GOOD CAUSE THERE APPEARING, it is hereby ordered that the March
 3   12, 2010, status conference be continued to April 2, 2010, at 9:00 a.m. I find that the
 4   ends of justice warrant an exclusion of time and that the defendant’s needs for continuity
 5   of counsel and reasonable time for effective preparation exceeds the public interest in a
 6   trial within 70 days.
 7                 THEREFORE IT IS FURTHER ORDERED that time be excluded pursuant
 8   to 18 U.S.C. § 3161 (h)(8)(B)(iv) and Local Code T4 from the date of this order to April
 9   2, 2010.
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11   IT IS SO ORDERED.
12   Dated: March 15, 2010
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14                                          GARLAND E. BURRELL, JR.
15                                          United States District Judge

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28   STIPULATION AND (PROPOSED) ORDER CONTINUING STATUS CONFERENCE
